Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 1 of 16




                    EXHIBIT 2
           To Notice of Removal
         Case No. 1:14-cv-01698
         Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 2 of 16

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            USDA, Forest Service
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                                                              FS Agreement No,          11-CS-11132424-310
                                                           Cooperator Agreement No,


                  CHALLENGE COST SRARE AGREEMENT
                                Between
          COMMUNITY FOUNDATION FOR NATIONAL CAPITAL REGION
                                And The
                         USDA, FOREST SERVICE°
         RECREATION, HERITAGE, AND VOLUNTEER RESOURCES STAFF

This CHALLENGE COST SHARE AGREEMENT is hereby made and entered into by and
between the COMMUNITY FOUNDATION FOR NATIONAL CAPITAL REGION ,
hereinafter referred to as "The Community Foundation," and the USDA, Forest Service,
Recreation, Heritage, and Volunteer Resources staff, hereinafter referred to as the "U.S. Forest
Service," under the authority: Interior and Related Appropriations Act of 1992,
                                                                             Public Law 102-
154.

BackgrNnd; The Forest Service manages 193 million acres on 155 national forests and 20 grasslands in
44 States and Puerto Rico, and helps improves land stewardship outside the National Forest System.
Through partnerships among the Forest Service, other federal agencies, and state and local organizations,
the Forest Service builds connections with rural and urban °walnut:4-1es, With the changing
demographics of the country, the Forest Service recognizes the need to increase the capacity of its
volunteer programs, in particular, its ability to recruit volunteers from among non-traditional users, under-
served communities, and urban youth in these communities.

Volunteers are the life-blood of the Forest Service. Every year, volunteers undertake a host et- projects,
including, among others, building and maintaining trails, helping protect and restore native ecosystems,
and providing conservation education, Yet, the current Forest Service Infrastructure for managing
volunteer programs is inconsistent across the agency, according to a recent volunteer assessment, Several
regions, districts, and forests have begun to rely on interns and work-study programs as a cost-effective
way to help stabilize and enhance volunteer programs.

The use of interns as part of a volunteer coordination strategy also benefits the student. Students are able
to receive hands-on experience with the ability to apply classroom and textbook theories to a "real world"
setting. They also can gain contacts and networking opportunities with an insider's view to a possible
career path or entry level position with the Forest SerVice, For minority students, many of whom do not
typically have access to these types of opportunities, internships with the Forest Service can be very
beneficial.



Title: Service-wide Challenge Cost Share with the Community Foundation for National Capital
Region

 I. PURPOSE;




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         Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 3 of 16


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        The purpose of this agreement is to document the cooperation between the parties to help
        build the next generation of environmental leaders, stewards, and volunteers from under-
        represented and minority communities through a new national program of the Community
        Foundation for National Capital Region, a program called IvlobilizeGreen, in accordance
        with the following provisions and the hereby incorporated Operating and Financial Plan,
        attached as Exhibit A.

 IL STATEMENT OF MUTUAL BENEFIT AND INTERESTS.

 In partnership with the Forest Service, the Los Angeles Conservation Corps, and the West Virginia
 Conservation Corps, the Community Foundation proposes to tailor its innovative diversity internship
 program to The,proposed goals of the program are to:

     • Increase the diversity and numbers of volunteers and community partners engaged in each forest
       in each region;
     • Expose diverse college students to potential careers at the Forest Service;
     • Teach core content about environmental issues (climate, energy, and sustainability), professional
       skills, and stewardship to interns; and
       Increase youth volunteerism and stewardship.


        In Consideration of the above premises, the parties agree as follows;

 III. THE COMMUNITY FOUNDATION FOR NATIONAL CAPITAL REGION
       SHALL:

        A. LEGAL A TYIPRITY. The Community Foundation shall have the legal authority to
             enter into this agreement, and the institutional, managerial, and financial capability to
            ensure proper planning, management, and completion of the project, which includes
            funds sufficient to pay the nonfederal share of project costs, when applicable.

             US302:00/31311    . MEN:f OWNED VF      ll ICI, S. U.S. Forest Service vehicles may
             be used for official U.S, Forest Service business only in accordance with FSH
             7109.19, ch. 60, the requirements established by the region in which performance of
             this agreement takes place, and the terms of this agreement.

        C. BUILDINa                             CCESS                              ERvi.
            PERSONNFJ.. The Community Foundation may be granted access to U.S Forest
            Service facilities and/or computer systems to accomplish work described in the
            Operating Plan or Statement of Work. All non-government employees with
            unescorted access to U.S. Forest Service facilities and computer systems must have
            background cheeks following the procedures established by USDA Directives 3505
            and Departmental. Manual 4620-02. Those granted computer access must Mill all
            U.S. Forest Service requirements for mandatory security awareness and role-base
            advanced security training, and sign all applicable U.S. Forest Service statements of
            responsibilities.



                                                Page 2 of 1S
      Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 4 of 16


        USDA, forest Service                                                         OMB 1359&4117
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   D. Recruit, train, and place a 9-month intern in each of the 9 Forest Service regions to
        assist the Volunteer Coordinator and/or relevant staff with existing volunteer
        programs, and to outreach to diverse and non-traditional populations as potential
        sources of volunteers. Pre-screen intern applications for local (if applicable),
        diverse, and motivated college students or recent graduates. Interns may be eligible
        for an AmeriCorps education award. Train interns with MobilizeGreen's science-
        driven "Sustainability 101" Basic Core Training (3 days) at the beginning of their
        internship, and provide 6 facilitated webinars over the course of their internship. This
        training provides critical environmental literacy, professional skill development, and
        exposure to a range of green careers, Provide evaluation/tracking to follow the
        progress for interns up to 2 years after internship. Manage intern program, including
        a weekly stipend of $350, basic health insurance, travel stipend for travel to training
        and site up to $600 per roundtrip. Provide post-internship career services (career
        counseling and information, resume services, access to Job boards),


IV. THE U.S. FOREST SERVICE SHALL;

   A. PAYNIENT/REIlviBURSEMENT. The U.S. Forest Service shall reimburse the
        Community Foundation for the           Forest Service's share of actual expenses
        incurred, not to exceed $252,805 as shown in the Financial Plan, The U.S. Forest
        Service shall make payment upon receipt of Community Foundation's monthly
        invoice. Each invoice from The Community Foundation must display the total
        project costs for the billing period, separated by U.S. Forest Service and The
        Community Foundation share. In-kind contributions must be displayed as a separate
        line item and must not be included in the total project costs available for
        reimbursement, The final invoice must display The Community Foundation's full
        match towards the project, as shown in the financial plan, and be submitted no later
        than 90 days from the expiration date.

         Each invoice must include, at a minimum:
          1. The Community Foundation's name, address, and telephone number
          2. U.S, Forest Service agreement number
          3. Invoice date
          4. Performance dates of the work completed (start & end)
          5. Total invoice amount for the billing period
          6, Statement that the invoice is a request for payment by 'reimbursement'
          7. If using SF-270, a signature is required.
          8. Invoice Number, if applicable

         The invoice must be sent by one of three methods email is preferred):

                               EMAIL: asc_ga@fs,fed,us

                               FAX: 877-687-4894



                                          Page 3 of 15
 Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 5 of 16


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                            POSTAL: USDA Forest Service
                                     Albuquerque Service Center
                                     Payments — Grants & Agreements
                                     10113 Sun Ave NE
                                     Albuquerque, NM 87109

     Send a copy to: Merlene IVIazyck, 201 14th Avenue SW, Washington DC 20250

B. Provide on-the-job training and supervision to interns.

IT IS MUTUALLY UNDERSTOOD AND AGREED BY AND BETWEEN THE
PARTIES THAT:

A. PRINCIPAL CONTACTS. Individuals listed below are authorized to act in their
     respective areas for matters related to this agreement.

     Principal Cooperator Contacts;

       Cooperator Program Contact                   Cooperator Administrative Co c
Name: Leaks Allen                                 Name: Angela Jones 1-lackley
Address: 1201 15th St. NW                         Address: 1201 15°1 St. NW
City, State, Zip: Washington, DC 20005            City, State, Zip: Washington, DC 20005
Telephone: 202-375-7760                           Telephone: 202-955-5890
FAX: 202-955-8084                                 FAX: 202-955-8084
Email: leall@mobilizegreen.org                    Email: ajoncshackely@cfncr.org

     Principal U.S. Forest Service Contacts:

 U.S. Forest Service Program Manager                 U.S. Forest Service Administrative
                   Contact                                          Contact
Name: Merlene Mazyck                              Name: Susan Brooks
Address: 201 14th Avenue SW                       Address: 201 14th Avenue SW
City, State, Zip: Washington, DC 20250            City, State, Zip: Washington, DC 20250
Telephone: 202.205.0650                           Telephone: 202.205.1736
FAX: 202,205.1145                                 FAX: 202.205.1145
Email: rnmaz ckt fs.fed.us                        Email: slbrooks fs.fed.us

B.   NQN-LIABILIa. The LIS, Forest Service does not assume liability for any third
     party claims tbr damages arising out of this agreement.

C. N=ES. Any communications affecting the operations covered by this agreement
     given by the U.S. Forest Service or The Community Foundation are sufficient only if
     in writing and delivered in person, mailed, or transmitted electronically by e-mail or
     fax, as follows:




                                        Page 4 of 15
     Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 6 of 16

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          To the U.S. Forest Service Program Manager, at the address specified in the
          agreement.

          To The Community Foundation, at The Community Foundation's address shown
          in the agreement or such other address designated within the agreement.

      Notices are effective when delivered in accordance with this provision, or on the
      effective date of the notice, whichever is later.

D.    PARTICIPATION IN SIMILAR ACTIVIT1E$. This agreement in no way restricts
      the U.S. Forest Service or The Community Foundation from participating in similar
      activities with other public or private agencies, organizations, and individuals.

E.    ENDORSEMENT. Any of The Community Foundation Community Foundation's
      contributions made under this agreement do not by direct reference or implication
      convey U.S, Forest Service endorsement of the Community Foundation's products or
      activities.

F.    USE OF U.S, FOREST SERVICE INSIGNIA. in order for the Community
      Foundation to use the U.S. Forest Service insignia on any published media, such as a
      Web page, printed publication, or audiovisual production, permission must be granted
      from the U,S, Forest Service's Office of Communications. A written request must be
      submitted and approval granted in wilting by the Office of Communications
      (Washington Office) prior to use of the insignia,

G.    NQN-ITDERAL STATUS FOR COOPERATOR PARTICWANT LIABILITY. The
      Community Foundation agree(s) that any of their employees, volunteers, and program
      participants shall not be deemed to be Federal employees for any purposes including
      Chapter 171 of Title 28, United States Code (Federal Tort Claims Act) and Chapter
      81 of Title 5, United States Code (OWCP), as The Community Foundation hereby
      willingly agree(s) to assume these responsibilities.

       Further, The Community Foundation Community Foundation shall provide any
       necessary training to the Community Foundation's employees, volunteers, and
       program participants to ensure that such personnel are capable of performing tasks to
       be completed, The Community Foundation shall also supervise and direct the work
       of its, employees, volunteers, and participants performing,under this agreement.

H.     MEMBERS OF U,S, CONGRESa. Pursuant to 41 U,S.C. 22, no United States
       member of, or United States delegate to Congress shall be admitted to any share or
       part of this agreement, or benefits that may arise therefrom, either directly or
       indirectly.

I.     NONDISCRIMINA'IlON, The U.S. Department of Agriculture (USDA) prohibits
       discrimination in all its programs and activities on the basis of race, color, national
       origin, age, disability, arid where applicable, sec,, marital status, familial status,


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Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 7 of 16


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   parental status, religion, sexual orientation, genetic information, political beliefs,
   reprisal, or because all or a part of an individual's income is derived from any public
   assistance program. (Not all prohibited bases apply to all programs.) Persons with
   disabilities who require alternative means for communication of program information
   (Braille, large print, audiotape, etc.) should contact USDA's TARGET Center at (202)
   720-2600 (voice and TDD), To file a complaint of discrimination write to USDA,
   Director, Office of Civil Rights, 1400 Independence Avenue, S.W., Washington, D.C.
   20250-9410 or call (800) 795-3272 (voice) or (202) 720.6382 (TDD), USDA is an
   equal opportunity provider and employer.

   ELIGIBLE WORKERS. The Community Foundation shall ensure that all
   employees complete the 1-9 form to certify that they are eligible for lawful
   employment under the immigration and Nationality Act (8 USC 1324a). The
   Community Foundation shall comply with regulations regarding certification and
   retention of the completed forms. These requirements also apply to any contract
   awarded under this agreement.

K. STANDARDS FOR FINANCIAL MANAGEMENT.

     1. Financial Reporting

     The Community Foundation shall provide complete, accurate, and current financial
     disclosures of the project or program in accordance with any financial reporting
     requirements, as set forth in the financial provisions.

     2. Accounting Records

     The Community Foundation shall continuously maintain and update records
     identifying, the source and use of funds. The records shall contain information
     pertaining to the agreement, authorizations, obligations, unobligated balances,
     assets, outlays, and income.

     3. Internal Control

     The Community Foundation shall maintain effective control over and accountability
     for all U.S. Forest Service funds, real property, and personal property assets. The
     Community Foundation shall keep effective internal commis to ensure that all
     United States Federal funds received are separately and properly allocated to the
     activities described in the agreement. The Community Foundation shall adequately
     safeguard all such property and shall ensure that it is used solely for authorized
     purposes.

     4. Source Documentation




                                    Page 6 of 15
     Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 8 of 16


      USDA, Forest Service                                                           0M13 O94-0217
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       The Community Foundation shall support all accounting records with source
       documentation, These documentations include, but are not limited to, cancelled
       checks, paid bills, payrolls, contract and subgrant/contract documents, and so forth.

L.    AVAILABILITY OF F1,INDS, U.S. Forest Service funds in the amount of $ 252,805
      are currently available for performance of this agreement through September 30,
      2012. The U.S. Forest Service's obligation for performance of this agreement beyond
      this date is contingent upon the availability of appropriated funds from which
      payment can be made. No legal liability on the part of the U.S, Forest Service for any
      payment may arise for performance under this agreement beyond September 30, 2012
      until funds are made available to the U.S. Forest Service for performance and until
      The Community Foundation receives) notice of availability to be confirmed in a
      written modification by the U.S. Forest Service.

M. OVERPAYMENT. Any funds paid to the Community Foundation in excess of the
   amount entitled under the terms and conditions of this agreement constitute a debt to
   the Federal Government. The following must also be considered as a debt or debts
   owed by The Conanatuaity Foundation to the U.S. Forest Service:

      ▪Any interest or other investment income earned on advances of agreement funds; or

      - Any royalties or other special classes of program income which, under the
      provisions of the agreement, are required to be returned;

      If this debt is not paid according to the terms of the bill for collection issued for the
      overpayment, the U.S. Forest Service may reduce the debt by;

        1. Making an administrative offset against other requests for reimbursement.
        2, Withholding advance payments otherwise due to The Community Foundation.
        3. Taking other action permitted by statute (31 U.S.C. 3716 and 7 CFR, Part 3,
           Subpart B),

       Except as otherwise provided by law, the U.S. Forest Service may charge interest on
       an overdue debt,

N. AGREEMENT CLOSEOUT, The Community Foundation shall close out the
    agreement within 90 days after expiration or notice of termination.

       Any unobligated balance of cash'advanced to The Community Foundation must be
       immediately Defended to the U.S, Forest Service, including any interest earned in
       accordance with 7 CFR 3016.21,7 CFR 3019.22, or other relevant law or regulation.

       Within a maximum of 90 days following the date of expiration or termination of this
       agreement, all financial performance and related reports required by the terms of the
       agreement must be submitted to the U,S. Forest Service by The Community
       Foundation.


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 Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 9 of 16


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     If this agreement is closed out without audit, the U.S. Forest Service reserves the right
     to disallow and recover an appropriate amount after fully considering any
     recommended disallowances resulting from an audit which may be conducted later.

0. PROGRAM PERFORMANCE EPORTS The Community Foundation shall
     monitor the performance of the agreement activities to ensure that performance goals
     are being achieved.

     Performance reports must contain information on the following:

     - A comparison of actual accomplishments to the goals established for the period.
     Where the output of the project can be readily expressed in numbers, a computation
     of the cost per unit of output may be required if that information is useful,

     - Reason(s) for delay if' established goals were not met.

     - Additional pertinent information including, when appropriate, analysis and
     explanation of cost overruns or high unit costs.

     The Community Foundation shall submit quarterly performance reports to the U.S.
     Forest Service Program Manager. These reports are due 30 days after the reporting
     period. The final performance report shall be submitted either with The Community
     Foundation's final payment request, or separately, but not later than 90 days from the
     expiration date of the agreement.

     RETENTION AND ACCESS REQUIREMENTS FOR 40RDS. The
     Community Foundation shall retain all records pertinent to this agreement for a
     period of no less than 3 years from the expiration or termination date. As used in this
     provision, "records" includes books, documents, accounting procedures and practice,
     and other data, regardless of the type or format. The Community Foundation
     shall provide access and the right to examine all records related to this agreement to
     the U.S. Forest Service Inspector General, or Comptroller General or their authorized
     representative.

      If any litigation, claim, negotiation, audit, or other action involving the records has
      been started before the end of the 3-year period, the records must be kept until all
      issues are resolved, or until the end of the regular 3-year period, whichever is later.

      Records for nonexpendable property acquired in whole or in part, with Federal funds
      must be retained for 3 years after its final disposition.

      The Community Foundation shall provide access to any project site(s) to the U.S.
      Forest Service or any of their authorized representatives. The rights of access in this
      section shall not be limited to the required retention period but shall last as long as the
      records are kept.


                                        Page 8 of 15
     Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 10 of 16

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Q.    FREEDOM OF INFORMATION ACT (FOIA), Public access to agreement records
      must not be limited, except when such records must be kept confidential and would
      have been exempted from disclosure pursuant to Freedom of Information regulations
      (5 U.S.C. 552).

R.     TEXT MESSAGING WHILE DRIVING. In accordance with Executive Order (EO)
       13513, "Federal Leadership on Reducing Text Messaging While Driving," any and
       all text messaging by Federal employees is banned: a) while driving a Government
       owned vehicle (GOV) or driving a privately owned vehicle (POV) while on official
       Government business; or b) using any electronic equipment supplied by the
       Government when driving any vehicle at any time, All cooperators, their employees,
       volunteers, and contractors are encouraged to adopt and enforce policies that ban text
       messaging when driving company owned, leased or rented vehicles, POVs or GOVs
       when driving while on official Government business or when performing any work
       for or on behalf of the Government.

S.     PUBLIC NOTICES. It is the U.S. Forest Service's policy to inform the public as
       fully as possible of its progrtuns and activities. The Community Foundation is/are
       encouraged to give public notice of the receipt of this agreement and from time to
       time, to announce progress and accomplishments. Press releases or other public
       notices should include a statement substantially as follows:


         "Recreation, Heritage, and Volunteer Resources of the U.S. Forest Service,
         Department of Aviculture provide opportunities for community engagement and
         service learning in an environment which promotes working together to preserve
         the public lands legacy."

       The Community Foundation may call on the U.S Forest Service's Office of
       Communication for advice regarding public notices, The Community Foundation
       is/are requested to provide copies of notices or announcements to the U.S, Forest
       Service Program Manager and to U.S. Forest Service's Office of Communications as
       far in advance of release as possible.

T.     Flap_IE.C                     Federal funding under this agreement is not available for
       reimbursement of the Community Foundation's purchase of equipment.
       Equipment is defined as having a fair market value of $5,000 or more per unit and a
       useful life of over one year Supplies are those items that arc not equipment; supplies
       and materials may be purchased using federal funds.

U.     PROPERTY EVILIZSEI" . Improvements placed on National Forest System
       land at the direction or with the approval of the U.S. Forest Service becomes property
       of the United States. These improvements are subject to the same regnlations and
       administration of the U.S. Forest Service as would other National Forest
       improvements. No part of this agreement entitles The Community Foundation to


                                        Par 9 of 15
 Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 11 of 16


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     any interest in the improvements, other than the right to use them under applicable
     U,S, Forest Service regulations,

V. CONTRACT REQUIREMENTS, Any contract under this agreement must be
    awarded following The Community Foundation Foundation's established
    procurement procedures, to ensure free and open competition, and avoid any conflict
    of interest (or appearance of a conflict). The Community Foundation must
    maintain cost and price analysis documentation for potential U.S. Forest Service
    review. The Community Foundation is/are encouraged to utilize small
     businesses, minority-owned firms, and women's business enterprises.

     Additionally, federal wage provisions (Davis-Bacon or Service Contract Act) are
     applicable to any contract developed and awarded under this agreement where all or
     part of the funding is provided with U.S. Forest Service funds. Davis-Bacon wage
     rates apply on all public works contracts in excess of $2,000 and Service Contract Act
     wage provisions apply to service contracts in excess of $2,500,

W, GOVERNMENT-FURNISHED PROPERTY. The Community Foundation may
    only use U.S. Forest Service property furnished under this agreement for performing
    tasks assigned in this agreement. The Community Foundation shall not modify,
    cannibalize, or make alterations to U.S. Forest Service property. A separate
    document, Form AD-107, must be completed to document the loan of U.S. Forest
    Service property. The. U.S, Forest Service shall retain title to all U.S. Forest Service-
    furnished property, Title to U.S. Forest Service property must not be affected by its
    incorporation into or attachment to any property not owned by the U.S, Forest
    Service, nor must the property become a fixture or lose its identity as personal
    property by being attached to any real property.

      Cooperator Liability,/Or Government Property.
       1 Unless otherwise provided for in the agreement, The Community Foundation
         shall not be liable for loss, damage, destruction, or theft to the Government
         property furnished or acquired under this contract, except when any one of the
          following applies—

            a, The risk is covered by insurance or The Community Foundationis/are
               otherwise reimbursed (to the extent of such insurance or reimbursement).

            b. The loss, damage, destruction, or theft is the result of willful misconduct or
               lack of good faith on the part of the Community Foundation's managerial
               personnel. The Community Foundation's managerial personnel, in this
               clause, means The Community Foundation's directors, officers, managers,
               superintendents, or equivalent representatives who have supervision or
               direction of all or substantially all of The Community Foundation's business;
               all or substantially all of the Community Foundation's operation at any one



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 Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 12 of 16

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             plant or separate location; or a separate and complete major industrial
             operation.

       2. The Community Foundation shall take all reasonable actions necessary to protect
          the Government property from further loss, damage, destruction, or theft. The
          Community Foundation shall separate the damaged and undamaged Government
          property, place all the affected Government property in the best possible order,
          and take such other action as the Property Administrator directs.

       3, The Community Foundation shall do nothing to prejudice the Government's
          rights to recover against third parties for any loss, damage, destruction, or theft
          of Government property,

       4. Upon the request of the Grants & Agreements Specialist, The Community
          Foundation shall, at the Government's expense, furnish to the Government all
          reasonable assistance and cooperation, including the prosecution of suit and the
          execution of agreements of assignment in favor of the Government in obtaining
          recovery.


X.   U,S, FOREST SERVICE ACKNOWLEDGED IN PUBLICATIONS,
     AUDIOVISUALS AND ELECTRONIC MEDIA, The Community Foundation
     shall acknowledge U.S. Forest Service support in any publications, audiovisuals, and
     electronic media developed as'a result of this agreement.

Y.   NONDISCRIMINATION STATEMENT — PRINTE-0, ELECTRONIC, OR
     AUDIOVISUAL MATFRIAL. The Community Foundation. shall include the
     following statement, in full, in any printed, audiovisual material, or electronic media
     for public distribution developed or printed with any Federal funding.

     "In accordance with Federal law and Va. Department of Agriculture policy, this
     institution is prohibited from discriminating on the basis of race, color, national origin,
     sex, age, or disability. (Not all prohibited bases apply to all programs)

     To file a complaint of discrimination, write USDA, Director, Office of Civil Rights,
     Room 326-W, Whitten Building, 1400 Independence Avenue, SW, Washington, DC
     20250-9410 or call (202) 720-5964 (voice and TDD). USDA is an equal opportunity
     provider and employer."

     If the material is too small to permit the full statement to be included, the material
     must, at minimum, include the following statement, in print size no smaller than the
     text:

      "This htstitution fs an equal opportunity provitIor."




                                        Pare 11 of 15
 Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 13 of 16



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Z. B.EMEQIES FOR COMPLIANCE RELATEQ ISSUES. If The Community
     Foundation materially fail(s) to comply with any term of the agreement, whether
     stated in a Federal statute or regulation, an assurance, or the agreement, the U.S.
     Forest Service may take one or more of the following actions:

       1.Temporarily withhold cash payments pending correction of the deficiency by The
         Community Foundation or more severe enibreement action by the U,S. Forest
         Service;

       2. Disallow (that is, deny both use of funds and matching credit for) all or part of
          the cost of the activity or action not in compliance;

       3. Wholly or partly suspend or terminate the current agreement for The Community
          Foundation's program;

       4. Withhold further awards for the program, or

        5. Take other remedies that may be legally available, including debarment
           procedures under 7 CFR part 3017.

AA. TERMINATION BY MUTLIAL AGREU,MEN This agreement may be tenninated,
    in whole or part, as follows:

        I. When the U,S. Forest Service and The Community Foundation agree upon the
           termination, conditions, including the effective date and, in the case of partial
           termination, the portion to be terminated,

        2. By 30 days written notification by The Community Foundation to the U.S. Forest
           Service setting forth the reasons for termination, effective date, and in the case of
           partial termination, the portion to be terminated.

      If, in the case of a partial termination, the U.S. Forest Service determines that the
      remaining portion of the agreement will not accomplish the purposes for which the
      agreement was made, the U.S. Forest Service may terminate the agreement in its
      entirety,

      Upon termination of an agreement, The Community Foundation shall not incur any
      new obligations for the terminated portion of the agreement after the effective date,
      and shall cancel as many outstanding obligations as possible. The U.S, Forest Service
      shall allow full credit to The Community Foundation for the United States Federal
      share of the non-cancelable obligations properly incurred by The Community
      Foundation up to the effective date of the termination. Excess funds must be
      refunded within 60 days after the effective date of termination,

BB. ALTERNATE DISPUTE RESOLUTION — PARTNERSHIP AGREEMENT. In the
     event of any issue of controversy under this agreement, the parties may pursue


                                       Puge 12 of 15
  Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 14 of 16

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     Alternate Dispute Resolution procedures to voluntarily resolve those issues. These
     procedures may include, but are not limited to conciliation, facilitation, mediation,
     and fact finding.

CC. DENT                  aaaljaM.
                               l      The Community Foundation shall
  immediately inform the U,S. Forest Service if they or any of their principals are
  presently excluded, debarred, or suspended from entering into covered transactions
  with the Federal Government according to the terms of 2 CFR Part 180.
  Additionally, should The Community Foundation or any of their principals
  receive a transmittal letter or other official Federal notice of debarment or suspension,
  then they shall notify the U.S. Forest Service without undue delay. This applies
  whether the exclusion, debarment, or suspension is voluntary or involuntary.


DD. COPYRIGHTING. The Community Foundation is/are granted sole and exclusive
    right to copyright any publications developed as a result of this agreement. This
    includes the right to.publish and vend throughout the world in any language and in all
    media and forms, in whole or in part, for the full term of copyright and all renewals
    thereof in accordance with this agreement.

      No original text or graphics produced and submitted by the U.S. Forest Service shall
      be copyrighted. The U.S. Forest Service reserves a royalty-free, nonexclusive, and
      irrevocable right to reproduce, publish, or otherwise use, and to authorize others to
      use the work for federal government purposes. This right must be transferred to any
      sub-agreements or subcontracts.

      This provision includes:
      • The copyright in any work developed by The Community Foundation under this
         agreement.
      • Any right of copyright to which The Community Foundation purehase(s)
         ownership with any federal contributions.

 EE. PUBLICATION SALE. The Community Foundation may sell any publication
      developed as a result of this agreement. The publication may be sold at fair market
      value, which is initially defined in this agreement to cover the costs of development,
      production, marketing, and distribntion, After the costs of development and
      production have been recovered, fair market value is defined in this agreement to
      cover the costs of marketing, printing, and distribution only Fair market value must
      exclude any in-kind or federal government contributions from the total costs of the
      project.

 FF. MODIFICATIONS. Modifications within the scope of this agreement must be made
      by mutual consent of the parties, by the issuance of a written modification signed and
      dated by all properly authorized, signatory officials, prior to any changes being
      performed. Requests for modification should be made, in writing, at least 30 days



                                       Page 13 of 15
        Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 15 of 16


                                                                                                                              OMB 0.41,16,0217
               USDA, Fowl Service                                                                                                Fli.1509-10


               prior to implementation of the requested change. The U.S. Forest Service is not
               obligated to fund any changes not properly approved in advance,

       GO, COMNIENCEMkNT/F,XPIRATION DATE. This agreement is executed as of the
           date of the last signature and is effective through September 30, 2012, at which time
           it will expire, unless extended by an executed modification, signed and dated by all
           properly authorized, signatory officials.

       1-1 AUTHQRJZED REPRESENTATIVES. By signature below, each party certifies that
            the individuals listed in this document as representatives of the individual parties are
            authorized to act in their respective areas for matters related to this agreement. In
            witness whe cof, the parties hereto have executed this agreement as of the last date
            wri n b



                     , Presitient-
      The Community Foundation for the National Capital
      Region




      JAMES S. BEDWELL, Director
      U,S, Forest Service, Recreation, Heritage, and
      Volunteer Resources




      The authority and format of this agreement have been reviewed and approved for
      signature.
                                                                      8/25/2011
      V1GDIS JACOB                                               -    Date
      U.S. Forest Service Grants & Agreements
      Specialist


                                                              Burden Swlemeot

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                                                               Page 14 of 15
            Case 1:14-cv-01698-RMC Document 1-2 Filed 10/09/14 Page 16 of 16


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